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JUDGE DU'RK|N

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN nlvlsloN _
MAG|STRATE JUE"" HM'€'EGAN

UNITED sTATEs oF AMERICA § NO. 1 07 C R 2 3,9
)

v.
) Violations: Title 18, United States

JESSICA ARONG O’BRIEN and ) Code, Sections 1341 and 1344

MARIA BARTKO )

COUNT ONE

1. At times material to this indictment ' R TCUURT

a. Defendant JESSICA ARONG O’BRIEN Was an attorney
licensed to practice law in the State of Illinois, a licensed loan originator and
licensed real estate broker in the State of Illinois, and the owner of O’Brien
Realty LLC, a licensed Illinois real estate company. O’BRIEN Was employed
full-time as a Special Assistant Attorney General for the Illinois Department
of Revenue in Chicago, Illinois, and part-time as a loan officer for Amronbanc
Mortgage Corporation in Lincolnvvood, Illinois.

b. Defendant l\/.[ARIA BARTKO, a licensed loan originator in
the State of Illinois, Was employed as a loan officer for Amronbanc l\/Iortgage

Corporation in Lincolnwood, Illinois.

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c. Citibank, N.A. and J.P. Morgan Chase Bank, N.A. Were
financial institutions, the deposits of which Were insured by the Federal
Deposit Insurance Corporation.

d. Citibank, N.A. owned Citibank Domestic Investment Corp., .
which owned CitiMortgage, Inc.

e. CitiMortgage, Inc. was in the mortgage-lending business

f. Lenders, including Citibank, N.A., NeW Century Mor_tgage
Corporation, and First Magnus Financial Corporation, required mortgage loan
applicants to provide truthful information, including the applicant’s financial
condition, employment, income, liabilities, and intention to occupy the
property, the buyer’s identity, any payments made to the buyer for purchasing
the property, and the sales price of the property, and lenders, including J.P.
Morgan Chase Bank, N.A., required commercial loan applicants to provide
truthful information`, including the applicant’s financial condition and income,
all of which was material to lenders’ approval, terms, and funding of loans.

g. Lenders often sold the mortgage loans to other lenders and
institutions (“successors”). Lenders disclosed that the mortgage loans could be
sold and the likelihood that the mortgage loans would be sold. The information
provided in loan applications and supporting documents, including the sales
price of the property, the borrower’s financial condition, employment, and

income, the buyer’s identity, and money paid to the buyer for purchasing the

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property, was material to the successors’ decision to purchase the mortgage
loans.

2. Beginning in or about 2004, and continuing until at least in or
about 2007 , at Chicago, in the Northern District of Illinois, Eastern Division,

and elsewhere,

JEssicA ARoNG o’BRIEN and
MARIA BARTKo,

defendants herein, along with others known and unknown to the grand jury,
knowingly devised, intended to devise, and participated in a scheme to defraud
lenders and successors and to obtain money and property from lenders by
means of materially false and fraudulent pretenses, representations, and
promises, and concealment of material facts, which scheme affected a financial 4
institution and is further described below.

3. It Was part of the scheme that defendants JESSICA ARONG
O’BRIEN and MARIA BARTKO, along With others, fraudulently caused
lenders to issue and to refinance mortgage and commercial loans in a total
amount of at least approximately $1,400,000, by making and causing to be
made materially false representations yand by concealing material facts in
documents submitted to the lenders, including loan applications and
supporting documents, real estate contracts, and HUD-l settlement

statements, concerning, among other things, the applicant’s employment,

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income, liabilities, and intention to occupy the properties, the buyer’s identity,
money paid to the buyer for purchasing the properties, and the sales price of
the properties

4. It was further part of the scheme that defendant JESSICA
ARONG O’BRIEN fraudulently obtained mortgage loan proceeds to purchase
an investment property located at 625 West 46th Street, Chicago, Illinois, then,
using defendant MARIA BARTKO as the loan originator, fraudulently
refinanced her mortgage loans on the 46th Street property and on a second
investment property located at 823 West 54th Street, Chicago, Illinois.
O’BRIEN then fraudulently obtained a commercial line of credit and used
those loan proceeds to maintain the 46th Street and 54th Street properties,
before selling the two properties to BARTKO and Buyer A, a straw buyer whom
O’BRIEN and BARTKO knew Would be fraudulently qualified for mortgage
loans.

Purchase of 625 West 46th Street

5. It was further part of the scheme that in or about August 2004,
defendant JESSICA ARONG O’BRIEN caused to be submitted to a lender loan
documents for a mortgage loan to finance her purchase of the 46th Street
property, knowing that the documents contained materially false information,

including false statements regarding her income and liabilities

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6. It was further part of the scheme that defendant JESSICA
ARONG O’BRIEN represented on the loan application that her income from
the Illinois Department of Revenue was $6,800 per month, knowing that the
represented income was false.

7. It was further part of the scheme that defendant JESSICA
ARONG O’BRIEN signed and caused to be submitted to the lender a
Certification of Borrower Income that affirmed that O’BRIEN had provided
truthful and accurate income information to the lender, knowing that the
certification was false.

8. It was further part of the scheme that defendant JESSICA
ARONG O’BRIEN represented to the lender that she had disclosed all of her
liabilities, knowing that she had failed to disclose a mortgage loan liability in
excess of $260,000 that O’BRIEN and Individual A owed in connection With
their ownership of Property A in Chicago.

Refinancing of Loans for
625 West 46th Street and 823 West 54th Street

9. lt was further part of the scheme that in or about September 2005,
defendant JESSICA ARONG O’BRIEN, who had purchased the 54th Street
property in 2004 approximately one month after she purchased the 46th Street
property, through defendant MARIA BARTKO as the loan originator, caused

to be submitted to a lender loan applications to refinance O’BRIEN’s mortgage

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loans on the properties, knowing that both applications contained materially
false statements regarding O’BRIEN’s income and employment

10. It Was further part of the scheme that defendant JESSICA
ARONG O’BRIEN falsely represented on the loan refinance applications that
her only employer was O’Brien Realty, When she was working full-time as an
attorney for the Illinois Department of Revenue.

11. It was further part of the scheme that defendant JESSICA
ARONG O’BRIEN represented on the loan refinance applications that her
income from O’Brien Realty Was $20,000 per month, knowing that the
represented income was false.

12. It was further part of the scheme that defendant JESSICA
ARONG O’BRIEN signed and caused to be submitted to the lender Borrower’s
Certifications for both loan refinance applications that included a certification
that O’BRIEN did not make any misrepresentations or omit any pertinent
information in the loan application materials, knowing that those certifications
were false.

Commercial Line of Credit

13. It was further part of the scheme that, in or about November 2006,

defendant JESSICA ARONG O’BRIEN caused to be submitted to a lender, J.P.

Morgan Chase Bank, N.A., materially false information to obtain a commercial

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line of credit for O’Brien Realty, and used those loan proceeds to pay expenses
related to the 46th Street and 54th Street properties,

14. It was further part of the scheme that defendant JESSICA
ARONG O’BRIEN, in applying for the line of credit, represented that O’Brien .
Realty’s annual revenue was $150,000 and annual profit Was $100,000,
knowing that the represented revenue and profit information Was false.

Sales of 625 West 46th Street and 823 West 54th Street

15. It Was further part of the scheme that, in or about March 2007,
defendants JESSICA ARONG O’BRIEN and MARIA BARTKO agreed that
O’BRIEN Would sell the 46th Street and 54th Street properties to BARTKO.
However, because BARTKO did not have good enough credit to qualify for
loans to purchase the properties, O’BRIEN and BARTKO agreed that
BARTKO Would recruit Buyer A to purchase the properties, on consecutive
days in April 2007, both knowing that false information would be submitted to
lenders, including Citibank, N.A., to qualify Buyer A for the mortgage loans.

16. It was further part of the scheme that defendant JESSICA
ARONG O’BRIEN paid defendant MARIA BARTKO and Buyer A to purchase
the two properties, knowing that these payments Were concealed from the

lenders funding the mortgage loans.

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17 . lt was further part of the scheme that defendant JESSICA
ARONG O’BRIEN and Buyer A signed and caused to be submitted to the
lenders HUD-l settlement statements that each included a certification by
O’BRIEN and Buyer A that the HUD-l Was a true and accurate statement of
all receipts and disbursements made by them in the transaction, knowing that
such certifications were false.

18. It Was further part of the scheme that defendants JESSICA
ARONG O’BRIEN and MARIA BARTKO knowingly caused BARTKO’s status
as a buyer to be concealed from the lenders by knowingly omitting her from
the loan documents, including the HUD-l settlement statements, loan
applications, and real estate contracts

19. It was further part of the scheme that defendants JESSICA
ARONG O’BRIEN and MARIA BARTKO caused to be submitted to the lenders
real estate contracts, HUD-l settlement statements and loan applications all
of which O’BRIEN and BARTKO knew fraudulently inflated the sales price of
the properties

20. It was further part of the scheme that, as defendants JESSICA
ARONG O’BRIEN and MARIA BARTKO knew, Buyer A’s loan applications
falsely represented that Buyer A intended to occupy as his primary residence

the 46th Street property and the 54th Street property, respectively.

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21. It Was further part of the scheme that, as defendants JESSICA
ARONG O’BRIEN and MARIA BARTKO knew, Buyer A’s loan applications
falsely overstated Buyer A’s income.

22. It Was further part of the scheme that defendants JESSICA
ARONG O’BRIEN and MARIA BARTKO misrepresented, concealed, and hid,
and caused to be misrepresented, concealed, and hidden, acts done in
furtherance of the scheme and the purpose of those acts

23. On or about April 16, 2007, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

JESSICA ARONG O’BRIEN and
MARIA BARTKO,

defendants herein, for the purpose of executing the scheme to defraud,
knowingly caused to be deposited, to be sent and delivered by United Parcel
Service, a commercial interstate carrier, according to the directions thereon,
ana envelope containing a payoff check in the amount of approximately
$297,208.96, addressed to LSAMSl Payoff Department OH4-7137, Chase
Home Finance, 3415 Vision Drive, Columbus, OH 43219-6009, for payment
relating to the purchase of the property located at 625 West 46th Street,
Chicago, Illinois;

In violation of Title 18, United States Code, Section 1341.

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COUNT TWO

The SPECIAL DECEMBER 2016 GRAND JURY further charges:

1. Paragraph 1 of Count One is incorporated here.

2. Beginning in or about 2004 and continuing until at least in or
about 2007, in the Northern District of Illinois, Eastern Division, and
elsewhere,

JESSICA ARONG O’BRIEN,
defendant herein, knowingly participated in a scheme to defraud and to obtain
money and funds owned by and under the custody and control of a financial
institution, by means of materially false and fraudulent pretenses,
representations and promises, and concealment of material facts, which
scheme is further described below.

3. Paragraphs 3 through 22 of Count One are incorporated here.

4. On or about April 16, 2007, at Chicago, in the Northern District of
Illinois, Eastern Division, and elsewhere,

JESSICA ARONG O’BRIEN,
defendant herein, knowingly executed and attempted to execute the scheme to
defraud by causing Citibank, N.A., a financial institution, to fund a mortgage
loan in the amount of approximately $73,000 for Buyer A’s purchase of 625
West 46th Street, Chicago, Illinois;

In violation of Title 18, United States Code, Section 1344.

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FORFEITURE ALLEGATION
The SPECIAL DECEMBER 2016 GRAND JURY further alleges:
1. The allegations of Counts One and 'leo are incorporated here for
the purpose of alleging forfeiture to the United States pursuant to Title 18,
United States Code, Section 982(a)(2).
2. As a result of their violations of Title 18, United States Code,
Sections 1341 and 1344, as alleged in Counts One and Two of this indictment,

JESSICA ARONG O’BRIEN and
MARIA BARTKO,

defendants herein, shall forfeit to the United States, any and all right, title,
and interest they may have in any property, real and personal, which
constitutes and is derived from proceeds defendants JESSICA ARONG
O’BRIEN and MARIA BARTKO obtained directly and indirectly as result of
the offenses charged in Counts One and Two.

3. If any of the property subject to forfeiture and described above, as

a result of any act or omission of defendants:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third
party;

c. Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

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e. Has been commingled with other property which cannot be
divided without difficult;
the United States of America shall be entitled to forfeiture of substitute
property pursuant to the provisions of Title 21, United States Code, Section
853(p), as incorporated by Title 28, United States Code, Section 2461.

All pursuant to Title 18, United States Code, Section 982(a)(2).

A TRUE BILL:

 

FOREPERSON

 

ACTING UNITED STATES ATTORNEY

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